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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



                                                )
UNITED STATES OF AMERICA,                       )
                                                ) Case No. 1:21-cr-00015-APM
                         v.                     )
                                                )
KELLY MEGGS,                                    )
                                                )
                   Defendant.                   )
                                                )




    DEFENDANT KELLY MEGGS’S REPLY MEMORANDUM OF POINTS AND
       AUTHORITIES IN FURTHER SUPPORT OF MEGGS’ MOTION TO
          DISMISS ON THE BASIS OF SELECTIVE PROSECUTION

        Defendant Kelly Meggs, by and through the undersigned counsel, and

pursuant to Federal Rules of Criminal Procedure 12(b)(3)(A)(iv), hereby submits

this Reply Memorandum of Points and Authorities in further support of the Motion

to Dismiss Counts 1 through 3 1 for Selective Prosecution of the Superseding

Indictment, [ECF 189] filed July 12, 2022 and in Response to the Government’s

Opposition. [ECF 202 filed July 25, 2022].

I.     Background

       The government began this process with the Indictment filed in U.S. v.

Caldwell filed on January 27, 2021 (ECF 4, U.S. v. Caldwell, 21-cr-28), charging



1
 The Motion to Dismiss seeks to dismiss Counts 1-3, not the entire Indictment for clarification,
which may not be clear because in getting finalized it was separated from the other Motion to
Dismiss, which makes that clear.
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Thomas Caldwell, Jessica Watkins and Donovan Crowl, by a signature block for

Acting U.S. Attorney, Michael Sherwin. This Indictment already contained many of

the facts alleged in the most recent indictment, but individual defendants have

since been added. See Id. The first Superseding Indictment was filed on February

19, 2021, which added defendants, Sandra and Bennie Parker, Laura Steele,

Graydon Young, Kelly and Connie Meggs, and was signed by Acting U.S. Attorney,

Michael Sherwin. (ECF 27, U.S. v. Caldwell, 21-cr-28). The Second Superseding

Indictment was filed on March 12, 2021. (ECF 77, U.S. v. Caldwell, 21-cr-28), at

which time it appears that Kenneth Harrelson got added as a defendant, signed by

the Acting United States Attorney, Channing Phillips.

      In the Second Superseding Indictment certain relevant facts were included

such as:

      ¶ 37 “On 12/25/21 Kelly Meggs wrote a message that said in relevant part, “I

was named state lead of Florida today.”

      ¶ 38 On 12/25/20 Kelly Meggs wrote in relevant part, “we are all staying in

DC near the Capitol at the Hilton Garden Inn, but I think its full. DC is no guns.

So mace and gas masks, some batons. If you have armor, that’s good.”

      ¶ 46 When invited to a leadership only conference call on an encrypted

messaging service called Signal for the DC OP, Watkins said she would try to make

it if her work obligations permitted.




                                          2
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      ¶ 47 On 12/31/20, Kelly Meggs wrote a series of messages to another

[unnamed] person on Facebook that said “you guys Gonna carry? “Ok we aren’t

either, we have a heavy QRF 10 min out though.”

      These facts in and of themselves show that the government had the messages

that they rely on for the most recent indictments, but that the government also has

recently chosen to omit relevant facts such as Watkins having work obligations in

making plans to come for the Jan 5th and 6th Events on January 1, 2021, or that

Kelly Meggs made clear that DC is “no guns” and that he only became a lead for

Florida on December 25, 2021.

      The Third Superseding Indictment was filed on March 31, 2021, and

defendants, Robert Minuta and Joshua James were added, signed by the Acting

United States Attorney, Channing Phillips. (ECF 127, U.S. v. Caldwell, 21-cr-28).

      The Fourth Superseding Indictment follows on May 26, 2021, at which time

defendants Jonathan Walden, Joseph Hackett, Jason Dolan, William Isaacs are

added, but notably the facts concluded with: ¶ 165, “shortly after 4:00 PM,

individuals who breached the Capitol, [naming defendants and others], gathered

together with Person One and Person Ten approximately 100 Feet from the Capitol,

near the Northeast Corner of the Building” signed by the Acting United States

Attorney, Channing Phillips. (ECF 196, U.S. v. Caldwell, 21-cr-28).

      The Fifth Indictment filed on August 4, 2021 added David Moerschel and

Brian Ulrich. Each of these indictments begins with the caption: ‘The 2020 United

States Presidential Election and the Official Proceeding on January 6, 2021’ is


                                          3
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signed by the Acting United States Attorney, Channing Phillips. The Sixth

Indictment is filed on December 1, 2021 with the addition of defendant James

Beeks, and is signed by the United States Attorney, Michael Graves.               Each of these

indictments contain the same litany of facts, but gets slight edits and new

defendants specifically charged rather than as unnamed persons.

       However, on the anniversary of the January 6th -the Select Committee to

Investigate the January 6th Attack made several statements as CNN reported,

       “The committee is divided into five investigative teams, each with its
       own color designation: The green team is tasked with tracking money,
       including the funding behind the rallies, as well as untangling the
       complex web of financial ties between rally organizers and entities
       affiliated with Trump or his campaign, according to multiple sources.
       That team has made considerable progress, sources tell CNN.

       The blue team is focused on how government agencies prepared ahead
       of January 6 and responded to the attack. The gold team is examining
       efforts by Trump and his allies to pressure Department of Justice
       officials, as well as those at the state level, to overturn the results of
       the election. The red team is investigating rally planners and the "Stop
       the Steal" movement. The purple team is digging into domestic
       violence and extremist groups, including the Proud Boys, 3
       Percenters and Oath Keepers.

       In the new year, members of the panel will have to decide not only
       whether to subpoena their colleagues, but also whether to expand the
       list of Republican lawmakers…Legal scholar and Harvard professor
       Laurence Tribe told CNN that while the committee does not have the
       power to prosecute any crimes it may find, it can put pressure on
       the Justice Department to act. "It can't ensure that it will happen,
       but it can certainly increase the likelihood and create a kind of public
       momentum that will make it harder for the Justice Department just to
       sit there and twiddle its thumbs," he said. 2

2
 On the eve of the Capitol riot anniversary, January 6 investigation faces a pivotal year ahead,
By Annie Grayer, Ryan Nobles and Whitney Wild, CNN, January 5, 2022,
https://www.cnn.com/2022/01/05/politics/january-6-committee-2022-strategy/index.html

                                                4
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        On the anniversary of January 6th, the media and many political figures were

calling for charges on Insurrection, beginning with the President of the United

States. On January 6, 2022, President Biden calls Jan 6 an 'Insurrection,' but

different reporters and media analyzed the cases, and found that no charges had

been filed for that crime. 3 A whirl wind of media analysis followed, the

Washingtonian reported on the potential choices: “What Crimes Can the Capitol

Insurrectionists Be Charged With? Quite a few, it turns out, including some with

maximum penalties of decades in prison.” 4

        On January 5th, 2022, an opinion piece in the Wall Street Journal, in relevant

part, responded to this media outcry:

               “The media’s mischaracterization of these events created a
        moral panic that unfairly stigmatized Trump supporters across the
        nation as white supremacists conspiring to overthrow the U.S.
        government, resulting in the unnecessary mobilization of armed U.S.
        troops in Washington. Those who violated the law inside the U.S.
        Capitol should be prosecuted and, if convicted, sentenced accordingly.
               But dramatizing a riot as an organized, racist, armed
        insurrection is false reporting and dangerous political gaslighting.
        The misuse of words, especially involving criminal accusations,
        can easily result in overreaching enforcement of the law and a
        chilling effect on free speech, all of which have already happened—and


3
 Biden calls Jan 6 an 'insurrection' but no charges filed for that crime. Despite may officials
calling the Jan. 6 riot at the Capitol an "insurrection," a breakdown of charges has revealed that
not one of the 725 individuals charged was charged with insurrection, American News Jan 6,
2022. https://thepostmillennial.com/biden-calls-jan-6-an-insurrection-but-no-charges-filed-for-
that-crime

4
 What Crimes Can the Capitol Insurrectionists Be Charged With? Quite a few, it turns out,
including some with maximum penalties of decades in prison. Marisa Keshino, the
Washingtonian January 7, 2022 https://www.washingtonian.com/2021/01/07/what-crimes-can-the-capitol-
insurrectionists-be-charged-with/


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         in this case, endanger the very system the rioters’ accusers purport to
         protect.” 5

         The 7th Superseding Indictment, however, follows on the heels of the public

rhetoric and Biden’s statement of January 6, 2022, nearly a year after the charges

already issued, on January 12, 2022, a new indictment issues under a new case

number and now includes the charge of Seditious Conspiracy, 18 U.S.C. § 2384,

and the defendants who have been anticipating trial, are suddenly separated into

two new groups. (ECF 583, U.S. v. Caldwell, 21-cr-28, (ECF 01, 21-cr-00015-APM),

The new indictment lumps defendants together largely based on a $50.00

membership fee with an organization described by the Indictment as “a large but

loosely organized collection of individuals” called the “Oath Keepers.” Defendants

are grouped regardless of backgrounds. (ECF 01, 21-cr-00015-APM), signed by

Michael Graves. It also adds defendants Elmer Stewart Rhodes and Edward

Vallejo. Id.

         Similarly, for context on the pressure on the Department, President Biden has

called for charges against the former President, and the reports include the

following in this context:

         A new report claims President Joe Biden has told people he wants
         former President Donald Trump to be prosecuted.




5
 Stop Calling Jan. 6 an ‘Insurrection’ That’s a legal term that denotes much more than a
sporadically violent riot or disturbance. By Jeffrey Scott Shapiro, WSJ.com, January 5, 2022
https://www.wsj.com/articles/stop-calling-jan-6-an-insurrection-capitol-riot-civil-disorder-insurgency-protest-first-
amendment-11641417543


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       The leak was published in the New York Times on Saturday 6 as
       Democrats mount increasing pressure on the Justice Department to
       take action against Trump and people within his orbit in relation to
       the Capitol riot…

       Democrats have gone public with their belief that Garland and the
       Justice Department should be more assertive with the Capitol riot
       situation. “We are upholding our responsibility. The Department of
       Justice must do the same," said Rep. Adam Schiff, a member of the
       Jan. 6 committee. “Attorney General Garland, do your job so we can do
       ours,” said Rep. Elaine Luria, another member of the panel, according
       to Politico.

       In October, Biden urged the Justice Department to prosecute anyone
       who defied subpoenas from Capitol riot investigators.

       …The Justice Department distanced the agency from the president at
       the time…
       …Garland said in early March that the Justice Department’s
       investigation into the Capitol riot is the “most urgent” in the
       department's history. The claim came as Republicans said the DOJ in
       the Biden administration had not put the same effort into prosecutions
       tied to the violent riots of 2020 as the storming of the Capitol and
       criticized the agency for its decision to shutter the China Initiative
       despite a growing threat posed by the Chinese Communist Party.




6
 Building a criminal case against the former president is very difficult for federal prosecutors,
experts say, underlining the dilemma confronting the agency: The inquiry is a test for President
Biden and Attorney General Merrick B. Garland, who both came into office promising to restore
the Justice Department’s independence. New York Times, April 22, 2022.
https://www.nytimes.com/2022/04/02/us/politics/merrick-garland-biden-trump.html

2016 Campaign Looms Large as Justice Dept. Pursues Jan. 6 Inquiry, Top officials at the
department and the F.B.I. appear intent on avoiding any errors that could taint the current
investigation or provide ammunition for a backlash. By Glenn Thrush, Adam Goldman and
Katie Benner, New York Times, July 28, 2022,
https://www.nytimes.com/2022/07/28/us/politics/trump-garland-
investigation.html?searchResultPosition=3




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      The attorney general said in January that “there is no higher priority”
      at the Justice Department than prosecuting the Capitol riot cases, and
      he vowed that "the Justice Department remains committed to holding
      all Jan. 6th perpetrators, at any level, accountable under law."
      Garland compared the deadly Oklahoma City bombing of 1995
      to the Capitol riot last June and indicated last May the DOJ
      was prioritizing prosecutions related to the siege of the Capitol
      over those tied to the 2020 summer riots because the events of
      Jan. 6 were “the most dangerous threat to our democracy.” 7

      Channing Phillips and other Department of Justice attorneys filed a civil

lawsuit against the Trump Administration in 2020, Don’t Shoot Portland, et a., v.

Chad Wolf, et al., 1:20-cv-2040-CRC, who argued in Don't Shoot: that George Floyd

protestors took “…to the streets to express their collective grief, anger, and

frustration over not just one senseless act of violence, but the countless other abuses

people of color have endured for years.” (ECF 25-2, at p. 2). This shows a

remarkable about face when speaking about Portland Protestors v. January 6th

Protestors, reflecting a difference in the politics behind the different protests.

      Similarly. Michael Sherwin said that ‘After the 6th, we had an inauguration

on the 20th. So, I wanted to ensure, and our office wanted to ensure, that

there was shock and awe that we could charge as many people as possible before

the 20th. And it worked because we saw through media posts that people were

afraid to come back to D.C. because they’re like, “If we go there, we’re gonna get




7
 Biden wish for Trump prosecution leaked as Democrats mount pressure campaign on DOJ
by Daniel Chaitin, Deputy News Editor & Jerry Dunleavy, Justice Department Reporter |
Washington Examiner, | April 02, 2022,
https://www.washingtonexaminer.com/news/justice/biden-wish-for-trump-prosecution-leaked-
as-democrats-mount-pressure-campaign-on-doj


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charged.”’ 8 Again this statement makes the bias clear – DOJ, the office, sought to

ensure “shock and awe.”

       While other protestors or “the Mob” are alleged to have committed violent

conduct, Mr. Meggs’ presence, together with that of Stack One as alleged, ‘mere

association, standing alone, is inadequate; an individual does not become a member

of a conspiracy merely associating with conspirators known to be involved in crime.

       The Superseding Indictment acknowledges Mr. Meggs’s alleged co-

conspirators alleged to have agreed not to bring firearms or other dangerous

weapons to the Capitol Building and, in fact, Mr. Meggs did not, nor is it alleged

that he violated any weapons laws. None charged to have done so. Instead the

entire conspiracy is based on a theory that they could have, since they are alleged to

have had weapons in Virginia, put together with messages that can also be taken

out of context, and the government has one of the first cases on “seditious”

conspiracy.

       The government further admitted in oral argument at one hearing, “[a]nd so

it's correct that we don't have a Signal chat with Mr. Meggs saying, now everybody

go storm the Capitol.” (ECF 118, p.17). And that is a significant deficiency for the

predicate of to the government’s case. 9



8
 Inside the prosecution of the Capitol rioters, CBS News, Mar. 22, 2021, available at:
https://www.cbsnews.com/news/capitol-riot-investigation-sedition-charges-60-
minutes-2021-03-21/
9
 “[the FBI] found no evidence that the groups had serious plans about what to do if they made it
inside.” See Mark Hosenball and Sarah N. Lynch, Exclusive: FBI Finds Scant Evidence U.S.
Capitol Attack was Coordinated, Reuters (Aug. 20, 2021). available at
                                               9
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II.    Legal argument

       The Court addressed the standard for ‘Smith Act offenses require rigorous

standards of proof.” Noto v. United States, 367 U.S. 290, 291, 81 S. Ct. 1517, 1518, 6

L. Ed. 2d 836, 838, (1961) (citing Scales, ante, p. 230.) The Court explained,

                “Even though it is not enough to sustain a conviction that the
       Party has engaged in "mere doctrinal justification of forcible overthrow
       . . . [even] with the intent to accomplish overthrow," Yates, supra, at
       321, it would seem that such a showing might be of weight in meeting
       the requirement that the particular defendant in a membership clause
       prosecution had the requisite criminal intent. But it should also be
       said that this element of the membership crime, like its others, must
       be judged strictissimi juris, for otherwise there is a danger that
       one in sympathy with the legitimate aims of such an
       organization, but not specifically intending to accomplish them
       by resort to violence, might be punished for his adherence to
       lawful and constitutionally protected purposes, because of
       other and unprotected purposes which he does not necessarily
       share.”
       Noto v. United States, 367 U.S.at 299-300.

       Similarly, as to general conspiracy charges,‘“[M]ere association, standing

alone, is inadequate; an individual does not become a member of a conspiracy

merely associating with conspirators known to be involved in crime.” United States

v. Gaskins, 402 U.S. App. D.C. 262, 273 (D.C. Cir., 2012) (quoting Wardell, 591 F.3d

at 1288)(See United States v. Dellosantos, 649 F.3d 109, 115 (1st Cir. 2011) ("The

agreement is the sine qua non of a conspiracy, and this element is not supplied by




https://www.reuters.com/world/us/exclusive-fbi-finds-scant-evidence-us-capitol-attack-was-
coordinated-sources-2021-08-20/




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mere knowledge of an illegal activity . . . , let alone by mere association with other

conspirators." (internal quotation marks omitted)); United States v. Diaz, 637 F.3d

592, 602 (5th Cir. 2011) ("If all that was shown was a defendant's . . . 'close

association with conspirators,' jurors would not be entitled to infer participation in

the conspiracy." (internal quotation marks omitted)); Nusraty, 867 F.2d at 764

("[M]ere association with those implicated in an unlawful undertaking is not enough

to prove knowing involvement.") Further, the Court has held that, ‘[t]he same

conclusion follows for acts of concealment that postdate the conclusion of the

conspiracies. Even in the context of criminal conspiracies, acts of concealment that

follow completion of the conspiracies' main objective are generally not considered to

be part of the conspiracy, see Grunewald v. United States, 353 U.S. 391, 402, 77 S.

Ct. 963, 1 L. Ed. 2d 931 (1957).

      The requirement in prosecuting one for a membership in an organization

charged with “intending overthrow the government” must be judged strictissimi

juris...” Noto v. United States, 367 U.S.at 299-300. While the government generally

argues that Defendant Meggs “has not made the requisite showing that he was

singled out for prosecution from those similarly situated,” the political pressure on

the Department of Justice to add more charges at the time of the adding of the

Seditious Conspiracy charge is palpable. It also explains how the Indictment in

22cr15 got drafted where the Oath Keepers, to include each Member (even where

there is no charge of assault or other violent behavior), and as clear, Mr. Meggs did

not carry weapons, nor is he alleged to have promoted the carrying of any illegal


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weapons in the District, are nevertheless charged with both Seditious Conspiracy

and Obstruction of Justice. As has been shown, these two (2) statutes, prior to

January 6th that have never charged on rioters much less protestors.

       Further, because of Defendant Meggs’ membership in an organization that

has been repeatedly called out, even while there is recognition by the January 6th

Committee that they were at the Rally to provide protection. 10 The attendance of

the events on January 5th and 6th at a Rally held by the incumbent President of the

United States, is specifically omitted from the current Indictment, otherwise, “the

overthrow of the government” would be questioned when placed in the context of

First Amendment protesters at Congress. Jeannette Rankin Brigade v. Chief of

Capitol Police, 342 F. Supp. 575 (D.D.C.), aff'd, 409 U.S. 972, 34 L. Ed. 2d 236, 93 S.

Ct. 311 (1972) (The Court felt that the integrity of the judicial process could not

survive in an atmosphere of mob excitement. But while, as Judge Bazelon said

(dissenting in Jeannette Rankin, supra), "traditionally, the judiciary does not decide

cases by reference to popular opinion," the fundamental function of a legislature in

a democratic society assumes accessibility to such opinion).

A.     Discriminatory Purpose and Similar Cases

       The government cites to Judge McFadden’s rejection of a similar argument

by a January 6th defendant, in United States v. David Lee Judd but Judge



10
  Here’s Every Word From the Seventh Jan. 6 Committee Hearing on its Investigation, National
Public Radio (July 12, 2022), available at https://www.npr.org/2022/07/12/1111123258/jan-6-
committee-hearing-transcript.

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McFadden attempted to distinguish Portland Protestors as having attacked at night

versus January 6ers attacking in the day, but the court in making that finding

seems to have been unaware that Portland Protestors attacked both day and night.

It was reported ‘that that the protest is a continuation of a daytime march that

occurred this afternoon.”11 …“Footage showed the rioters attempting to force their

way into the courthouse while chanting “f*** the United States!” 12 ‘ Later in the

evening rioters set a fire outside the courthouse entrance.’ 13 The federal Court

House closed for weeks under attack and burned. 14 More importantly, Judge

McFadden did not have the statements by the Attorney General, nor those of the

prosecutors signing the Indictments before the court that we have submitted in the

case at bar. See ECF 203, f.n. 9.

          The government further conflates the arguments. In arguing that the cases

are different because Meggs is alleged to have conspired to overthrow the

government, the government is making the point. Others who have protested in




11
  See Rioters Set Fire to Federal Courthouse in Portland One Day after Fencing
Removed (yahoo.com)Zachary Evans, Rioters Set Fire to Federal Courthouse in
Portland One Day after Fencing Removed https://news.yahoo.com/rioters-set-fire-federal-
courthouse-162333860.html

 These protesters were not charged with attempting to enter the property, or with
12

Seditious conspiracy or the like.

13
     See https://www.portlandoregon.gov/police/news/read.cfm?id=250952&ec=1&ch=twitter

14
  See Portland Police Chief Slams Violence At Riots | National Review, August 6,
2020 Zackary Evans, https://www.nationalreview.com/news/portland-police-chief-slams-
incomprehensible-violence-says-rioters-target-local-officers-with-mortars-and-commercial-
grade-fireworks/


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violent riots have not so been charged, attacking a federal courthouse day and night

contains the requisite similarity to the events on January 6th.

      The court can take judicial notice Jill Sanborn testified that the FBI did not

confiscate any firearms from the Capitol. 15 Kelly Meggs and the Oath Keepers are

not charged with having any arms at the Capitol, meaning firearms, knives, arson

tools, bombs, bricks or even drones. (See Indictment generally). In Portland,

Seventy-four faced federal charges. Crimes include assaults on federal officers,

some resulting in serious injuries; arson and attempted arson; damaging federal

government property; failing to obey lawful orders; and unlawful use of a drone;

among others. (See Press Dept. of Justice Press Release August 27, 2020).

      Similarly situated requires “some degree of commonality among the

indictable group, such that the defendant challenging his indictment may

make a supportable demonstration that those unindicted persons are, in fact,

similarly situated, and consequently…”’          Branch Ministries, Inc. v.

Richardson, 970 F. Supp. 11, 17, (D.D.C. 1997) (citations omitted).

      The “improper purpose” rests in the difference in prosecution over the content

of the message brought by the protestors on January 6th versus those in Portland.

This becomes clear a filed Amici brief by criminal justice “leaders” including the

Acting United States Attorney Channing Phillips. Mr. Phillips joined a civil lawsuit



15
  Sen. Ron Johnson (R-WI) questions witnesses during a Senate Homeland Security
and Governmental Affairs & Senate Rules and Administration joint hearing to
discuss the January 6th attack on the U.S. Capitol on March 3, 2021 in
Washington, DC. The Hill, https://youtu.be/AlxsZ-kQ5Ks;

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against the Trump administration defending Portland’s protestors as people merely

“expressing grief,” -- but issued charges against alleged Trump supporting

protestors: 18 U.S.C. § 1512(c)(2) and 2, or § 1512(k) or § 1752(a)(1) Id.

      The government does not dispute its own acknowledgment in its Opposition

that in its opposition on the Judd motion that, “Although it is true that each case

was eventually dismissed by the government for unknown reasons (typically after the

defendants repeatedly agreed to waive their rights to a preliminary hearing or

indictment over a period of months), all were initially facing felony charges.).” Gov’t.

Opp. Doc. 154 at 17 (emphasis added). Those felony charges, however, did not

include 18 U.S.C. § 2384, §1512(c)(2) and 2, or § 1512(k).

       In the case at bar, as similarly situated defendants, it is undisputed, or the

court can take judicial notice that Congress was in recess well before 2:40 P.M.

when Defendant Kelly Meggs is alleged have walked up the stairs and alleged to

have entered the Capitol “about a minute later”. (7th Indictment ¶ 87-88). A

rhetorical question one could ask to show prosecutorial bias, if this were such a

“planned operation to overthrow the government,” why did Defendant Meggs and

his alleged co-conspirators only arrive at the Capitol after Congress had declared

the House in Recess (at 2:29 PM)? The government instead conflates the facts to

suggest that Defendant Meggs was more culpable than those at Portland lacks

perspective, different political messages are being treated differently, with a larger

disparity against those in a “membership” of an organization labelled as “extremist”

despite their lack of violence. Moreover, the size of the unruly mob on January 6th


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further could reflect other issues such as the insufficient response by law

enforcement on January 6t.h - Mayor Bowser said on January 7th, “I think a more

robust presence on the ground” would have maintained order, she explained.” 16 Both

the federal courthouse and the state courthouse closed for weeks in the summer of

2020, but Congress returned the same day at 8:00 PM on January 6, 2021.

      Moreover, the Comparison is also relevant to show that the Assaults of

Federal Officers were dismissed. Not one of these 74 federally charged defendants

in Portland have been sentenced with having to go to prison or were charged under

18 U.S.C. § 1512(c)(2) and 2, or § 1512(k) – much less Seditious Conspiracy. The

discrimination in the selective charges exemplified by a lack of any historical

similar application compared with the dismissals and lack of prosecutions Portland

is palpable and fraught with constitutional infirmities, the First Amendment and

discrimination of speech as well Equal Protection and Due Process.

      In conclusion, we respectfully request that this court dismiss Counts 1-3

and/or in the alternative, order further discovery on the issue of selective

prosecution.




16
  D.C. Mayor Says Capitol Needed ‘More Robust’ Police Presence after Rejecting
Federal Assistance Pre-Riot, “Bowser is facing scrutiny for a Tuesday letter in
which she told Justice Department and Pentagon leaders that the city
would not need federal backup to handle protests.” by Tobias Hoonhout,
National Review January 7, 2021 https://www.nationalreview.com/news/d-c-mayor-
says-capitol-needed-more-robust-police-presence-after-rejecting-federal-assistance-
pre-riot/




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Dated: August 1, 2022                 Respectfully submitted,



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                        Certificate of Electronic Service

I hereby certify that on August 1, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF System, with consequent service on all parties of

record.


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